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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOEL PATTERSON, et al.,
Appellants,

v. Civil No. 3:21cv167 (DIN)

MAHWAH BERGEN RETAIL GROUP, INC.
Appellee.

ORDER
(Modifying Order on Attorneys’ Fees)

This matter comes before the Court on its own initiative. On January 13, 2022, the Court
remanded this case to the Bankruptcy Court consistent with the Court’s Memorandum Opinion
(ECF Nos. 79-80). The Court further ordered that the case be reassigned to a Bankruptcy Judge
outside of the Richmond Division. Separately, the Court ordered that, for any petitions for
approval of attorneys’ fees in the underlying bankruptcy case, the Bankruptcy Court should
submit proposed findings of fact and conclusions of law to this Court, pursuant to 28 U.S.C.

§ 157(c)(1). Further, the Court ordered that the prevailing market rates in the Richmond
Division of the Eastern District of Virginia would govern the approval of attorneys’ fees in this
case moving forward.

On February 15, 2022, the Bankruptcy Court promulgated amendments to its Local
Bankruptcy Rules concerning mega and complex chapter 11 cases, such as this one.’ Under the
amended rules, a mega bankruptcy case is now assigned randomly to a Bankruptcy Judge in the

District, but not necessarily in the Division in which the case was filed. Accordingly, in any

 

I https://www.vaeb.uscourts.gov/ sites/vaeb/files/20220215 EDVA%20LBRs%20
Revision%20Package.pdf.
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proposed findings of fact and conclusions of law submitted regarding petitions for the approval
of attorneys’ fees in this case, the Bankruptcy Court shall consider the impact of the amended
rules in determining the appropriate rate of compensation.
The Clerk is directed to file this Order electronically, notify all counsel of record and
forward a copy to the chambers of Chief United States Bankruptcy Judge Frank J. Santoro.
It is so ORDERED.
/s/ |

David J. Novak
United States District Judge

 

Richmond, Virginia
Date: February 22, 2022

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